      Case 4:20-cv-03709 Document 65-1 Filed on 11/03/20 in TXSD Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

 STEVEN HOTZE, M.D., WENDELL CHAMPION,                   )
 HON. STEVE TOTH, AND SHARON HEMPHILL,                   )
                                                         )   Civil Action
         Plaintiffs,                                     )
                                                         )
 v.                                                      )   No. 4:20-cv-03709-ASH
                                                         )
 CHRIS HOLLINS, in his official capacity as Harris       )
 County Clerk,                                           )
                                                         )
         Defendant.                                      )
                                                         )

                                     NOTICE OF APPEAL

        Plaintiffs Steven Hotze, M.D., Wendell Champion, Hon. Steve Toth, and Sharon Hemphill

hereby appeals, pursuant to 28 U.S.C. § 1292(a)(1), to the United States Court of Appeals for the

Fifth Circuit, from the oral Order on November 2, 2020, by the United States District Court,

Southern District of Texas, Houston Division, which denied Plaintiffs’ motion for a preliminary

injunction and also dismissed this case.

Dated: November 2, 2020                             Respectfully submitted,


                                                     /s/ Jared R. Woodfill
                                                    JARED R. WOODFILL
                                                    State Bar No. 00788715
                                                    Woodfill Law Firm, P.C.
                                                    3 Riverway, Suite 750
                                                    Houston, Texas 77056
                                                    P:(713) 751-3080
                                                    Fax: (713) 751-3058
                                                    woodfillservice@gmail.com
                                                    Counsel for Plaintiffs
